Case 1:14-cv-22657-DPG Document 32-1 Entered on FLSD Docket 09/17/2015 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                       CASE NO. 1:14-cv-22657-DPG

   ROTHSCHILD STORAGE
   RETRIEVAL INNOVATIONS, LLC,
   A Florida limited liability company,

                          Plaintiff,

   vs.

   NOKIA INC.,
   a Delaware limited liability company,

                     Defendant.
   ________________________________/

         DECLARATION OF ANDREW M. HOWARD IN SUPPORT OF PLAINTIFF’S
         RESPONSE TO DEFENDANT NOKIA INC.’S MOTION FOR STAY PENDING
                            INTER PARTES REVIEW


   I, Andrew M. Howard, declare as follows:

           1.     I am an attorney at the law firm of Shore Chan DePumpo LLP, and counsel of

   record for Rothschild Storage Retrieval Innovations, LLC (“RSRI”) in the above captioned

   action. I am over the age of 21 years, and am competent to make this declaration. This

   Declaration is being submitted in support of Plaintiff’s Response to Defendant Nokia Inc.’s

   Motion for Stay Pending Inter Partes Review. All statements set forth herein are true and correct

   and are based on my personal knowledge.

           2.     Attached as Exhibit A is a true and correct copy of an email thread between

   Andrew M. Howard and Roozbeh Gorgin regarding conditions pertaining to the motion to stay.

           I declare under penalty of perjury that the foregoing is true and correct this 17th day of

   September, 2015, in Dallas, Texas.


                                                     1
Case 1:14-cv-22657-DPG Document 32-1 Entered on FLSD Docket 09/17/2015 Page 2 of 2




   Dated: September 17, 2015          /s/ Andrew M. Howard

                                      Andrew M. Howard




                                        2
